                                         Case 5:03-cv-01296-JW Document 313 Filed 03/08/06 Page 1 of 3



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                                                                                          IT IS S
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                              10   Fax: (650) 798-3600
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10 SOUTH WACKER, 30TH FLOOR




                                                                                 NO                Judge Ja
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                                   Attorneys for Defendant and Counterclaimant
   CHICAGO, ILLINOIS 60606




                                   Pulse Engineering, Inc.                        RT




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                                                      IN THE UNITED STATES DISTRICT COURT  FOR
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                              14                              NORTHERN DISTRICT OF CALIFORNIA
                                                                     SAN JOSE DIVISION
                              15

                              16   REGAL ELECTRONICS, INC., a California                  Civil Case No.: 03-01296 JW
                                   corporation,
                              17                         Plaintiff,
                                                                                          REVISED STIPULATION AND ORDER
                              18   vs.                                                    OF DISMISSAL
                              19   PULSE ENGINEERING, INC., a Delaware
                                   corporation; FAHRNER-MILLER ASSOCIATES,
                              20   INC., a California corporation; FULL RISE              Hon. James Ware
                                   ELECTRONIC CO., LTD., a Taiwanese company;
                              21   MAX LION ELECTRONICS, INC., a California
                                   corporation; BEL FUSE, INC., a New Jersey
                              22   Corporation; and STEWART CONNECTOR
                              23   SYSTEMS, INC., a Pennsylvania corporation,
                                                         Defendant.
                              24
                                   AND RELATED COUNTERCLAIMS
                              25

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                                        Case 5:03-cv-01296-JW Document 313 Filed 03/08/06 Page 2 of 3



                               1   1.     Pursuant to Fed. R. Civ. P., Rule 41, Plaintiff Regal Electronics, Inc. (“Regal”), and

                               2   Defendants Pulse Engineering, Inc. (“Pulse”), and Full Rise Electronic Co., Ltd. (“FRE”), by their

                               3   undersigned attorneys stipulate as follows:

                               4   2.     Regal stipulates to the dismissal, with prejudice, of all claims filed against Pulse and FRE and

                               5   Pulse and FRE stipulate to the dismissal, with prejudice, of all counterclaims filed against Regal in

                               6   the above-captioned action.

                               7   3.     All Parties shall bear their own costs, expenses and attorneys’ fees.

                               8   4.     Regal, Pulse and FRE agree to comply with the terms of the Confidential Settlement

                               9   Agreement having an effective date of February 2, 2006.

                              10   5.     The entry of this Order finally resolves all issues between all parties herein. Regal consents to
10 SOUTH WACKER, 30TH FLOOR




                              11   the entry of this order, but reserves its right to appeal interlocutory orders, adjudications or judgments
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                              12   entered in favor of Bel Fuse, which is not a party to the above-referenced Confidential Settlement

                              13   Agreement.

                              14                                                   BANNER & WITCOFF

                              15

                              16
                                   Date: March 1, 2006                        By: /s/ Mark T. Banner
                              17                                                  Mark T. Banner
                              18                                                  Thomas K. Pratt
                                                                                  Aimee B. Kolz
                              19                                                  Michael L. Krashin

                              20                                                    Attorneys for Defendant Pulse Engineering,
                                                                                    Inc. and Full Rise Electronic Co. Ltd.
                              21

                              22                                                   RYAN, STEINER & LEET
                              23

                              24

                              25   Date: March 1, 2006                        By: /s/ W. Carlos Leet

                              26                                                    W. Carlos Leet

                              27                                                    Attorney for Plaintiff Regal Electronics, Inc.

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                                                                                     1                        Stipulation and Order for Dismissal
                                                                                                                           Case No. 03-01296 JW
                                       Case 5:03-cv-01296-JW Document 313 Filed 03/08/06 Page 3 of 3



                               1   IT IS SO ORDERED.

                               2

                               3           March 8, 2006
                                   Dated: ___________________, 2006          ______________________________________
                                                                             HON. JAMES WARE
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                                                                         2                  Stipulation and Order for Dismissal
                                                                                                         Case No. 03-01296 JW
